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19

20
      IN RE: ROUNDUP PRODUCTS                             MDL No. 2741
21    LIABILITY LITIGATION
                                                          Case No. 16-md-02741-VC
22
      This document relates to:                          PLAINTIFFS’ NOTICE OF
23
                                                         MOTION AND MOTION IN
24    Hardeman v. Monsanto Co., et al.,                  LIMINE NO. 6 TO EXCLUDE
      3:16-cv-0525-VC;                                   EVIDENCE OF PAST
25    Stevick v. Monsanto Co., et al.,
      3:16-cv-02341-VC;
26
      Gebeyehou v. Monsanto Co., et al.,
27    3:16-cv-5813-VC

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             PLAINTIFFS’ MOTION IN LIMINE NO. 6 TO EXCLUDE EVIDENCE OF PAST
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